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                                                        NON-CONFIDENTIAL VERSION


             UNITED STATES COURT OF INTERNATIONAL TRADE



BONNEY FORGE CORPORATION, and
UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY,
ALLIED INDUSTRIAL AND SERVICE
WORKERS INTERNATIONAL UNION,

               Plaintiffs,

                                                              Hon. Stephen A. Vaden
                       v.                                     Ct. No. 20-03837

UNITED STATES,

               Defendant, and

SHAKTI FORGE INDUSTRIES PVT. LTD,

               Defendant-Intervenor.



                                          ORDER

       Upon consideration of the Rule 56.2 Motion for Judgment on the Agency Record

of Plaintiffs Bonney Forge Corporation and the United Steel, Paper and Forestry, Rubber,

Manufacturing, Energy, Allied Industrial and Service Workers International Union and all

other papers and pleadings herein, it is hereby

       ORDERED that final determination of the U.S. Department of Commerce

(“Commerce”) is reversed, and it is further

       ORDERED that Commerce will re-consider the determination in light of the

opinion issued by this Court in this proceeding, and it is further




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       ORDERED that Commerce will file its remand results with this Court within 90

days of this order and that the parties will file any comments that they may have

regarding those remand results within thirty days of date of their filing with this Court.

       SO ORDERED.

                                              __________________________
                                              Stephen A. Vaden, Judge
                                              U.S. Court of International Trade

Dated: ___________________, 2021
       New York, New York




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                                                      NON-CONFIDENTIAL VERSION


             UNITED STATES COURT OF INTERNATIONAL TRADE



BONNEY FORGE CORPORATION, and
UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY,
ALLIED INDUSTRIAL AND SERVICE
WORKERS INTERNATIONAL UNION,

               Plaintiffs,

                                                            Hon. Stephen A. Vaden
                       v.                                   Ct. No. 20-03837

UNITED STATES,

               Defendant, and

SHAKTI FORGE INDUSTRIES PVT. LTD,

               Defendant-Intervenor.



                       PLAINTIFFS’ RULE 56.2 MOTION FOR
                      JUDGMENT ON THE AGENCY RECORD

       Pursuant to Rule 56.2(a) of the Rules of the United States Court of International

Trade, Plaintiffs Bonney Forge Corporation (“Bonney Forge”) and the United Steel,

Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service

Workers International Union (“USW”) hereby move this Court for judgement on the

agency record. This action challenges the negative portion of the U.S. Department of

Commerce’s (“Commerce”) final results of the antidumping duty investigation of forged

steel fittings from India. See Forged Steel Fittings from India, 85 Fed. Reg. 66,306

(Dep’t Commerce Oct. 19, 2020) (final aff. deter. LTFV sales) (APPX14186-14189). As

demonstrated in Plaintiffs’ Memorandum in Support of Rule 56.2 Motion for Judgment



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on the Agency Record, Commerce’s final determination that Shakti Forge Industries Pvt.

Ltd. (“SFIPL”) had not made sales at less than fair value during the period of

investigation is not supported by substantial evidence and is otherwise contrary to law.

                                 PROPOSED RELIEF

       Bonney Forge and the USW request that that this Court find that Commerce’s

final determination regarding SFIPL was not supported by substantial evidence and was

otherwise contrary law, and that it remand this proceeding to Commerce with instructions

for further proceedings consistent with such a decision. A proposed order is attached for

the Court’s consideration.

                                      Respectfully submitted,

                                      /s/ William Fennell

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                                      Manufacturing, Energy, Allied Industrial and
                                      Service Workers International Union




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             UNITED STATES COURT OF INTERNATIONAL TRADE

 BONNEY FORGE CORPORATION, and
 UNITED STEEL, PAPER AND FORESTRY,
 RUBBER, MANUFACTURING, ENERGY,
 ALLIED INDUSTRIAL AND SERVICE
 WORKERS INTERNATIONAL UNION,


               Plaintiffs,
                                                     Hon. Stephen A. Vaden
                                                     Ct. No. 20-03837
                        v.
                                                     CONFIDENTIAL VERSION
 UNITED STATES,

               Defendant, and

 SHAKTI FORGE INDUSTRIES PVT. LTD,

               Defendant-Intervenor.
        .

            PLAINTIFFS’ MEMORANDUM IN SUPPORT OF RULE 56.2
             MOTION FOR JUDGMENT ON THE AGENCY RECORD


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                                       Industrial and Service Workers
                                       International Union

Dated: April 26, 2021
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I.       ADMINISTRATIVE DETERMINATION SOUGHT TO BE REVIEWED
         Plaintiffs Bonney Forge Corporation (“Bonney Forge”) and the United Steel, Paper and

Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers International

Union (“the USW”) challenge the final negative result as to Shakti Forge Industries Pvt. Ltd.1 of

the Department of Commerce’s (“Commerce”) antidumping investigation of imports of forged

steel fittings from India during the period from October 1, 2018 through September 30, 2019.

These results were issued by the Department of Commerce as Forged Steel Fittings from India,

85 Fed. Reg. 66,306 (Dep’t Commerce Oct. 19, 2020) (final aff. deter. LTFV sales) (“FSF Final

Deter.”) (APPX14186-14189) incorporating the Decision Memorandum for the Final

Determination in the Less-Than-Fair-Value Investigation of Forged Steel Fittings from India

(Oct. 13, 2020) (“Final IDM”) (APPX14126-14148).2

         Commerce preceded these notices with its preliminary results. See Forged Steel Fittings

From India, 85 Fed. Reg. 32,007 (Dep’t Commerce May 28, 2020) (prelim. aff. deter. LTFV

sales, postponement of final deter, and ext. of provisional measures) (“FSF Prelim. Deter.”),

(APPX11745-11748).

II.      ISSUES PRESENTED
         1. Whether Commerce’s failure to verify the information supplied by SFIPL that it relied
            on to make its final determination in the investigation was contrary to law?

        Plaintiffs’ position: Yes, the statute requires that information relied on by Commerce in

an investigation be verified. 19 U.S.C. § 1677m(i)(1). Commerce did not verify the information




1
      Shakti Forge Industries Pvt. Ltd. adopted the acronym “SFIPL” for itself during the
      investigation. Petitioners’ use the acronym to refer to the company in this brief.
2
      Per “Joint Appendix Preparation in § 1581(c) Cases Assigned to Judge Vaden” all record
      citations are to bates-numbered appendix pages.

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it relied on for its final determination and did not issue a verification report and so acted contrary

to law.

          2. Whether Commerce’s reliance on SFIPL’s inconsistent reporting of processing costs
             was supported by substantial evidence and otherwise consistent with the law?

       Plaintiffs’ position: No. SFIPL reported that it processed fittings in different markets to

different types of customers using different processing methods. Yet it reported processing costs

without regard to where its fittings were sold. Commerce relied on SFIPL’s reporting of

processing costs that were inaccurate and so its margin calculation was not supported by

substantial evidence and was otherwise contrary to law.

III.      STATEMENT OF FACTS
          Background

          On October 23, 2019, Bonney Forge and the USW filed a Petition with the Department of

Commerce alleging that forged steel fittings had been exported from India and sold in the United

States for less than fair value. See Commerce Department Antidumping Duty Investigation

Initiation Checklist at 2 (Nov. 13, 2019) (APPX2654). Commerce initiated an investigation of

the imports on November 12, 2019. See Forged Steel Fittings from India and the Republic of

Korea, 84 Fed. Reg. 64265 (Dep’t Commerce Nov. 21, 2019) (init. LTFV investigations)

(APPX2695) (noting that initiation was effective as Nov. 12, 2019). Commerce selected two

mandatory respondents to investigate, SFIPL and Nikoo Forge Pvt., Ltd. Commerce

memorandum “Antidumping Duty Investigation of Forged Steel Fittings from India: Selection of

Respondents for Individual Examination” at 1 (Jan. 2, 2020) (APPX2900). Nikoo chose not to

participate, (Nikoo Letter at 1 (January 13, 2020 (APPX3223)), and Commerce selected a second

respondent to investigate, Pan International. Commerce memorandum “Antidumping Duty

Investigation of Forged Steel Fittings from India: Selection of Additional Respondent for


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Individual Examination” at 1 (Jan. 22, 2020) (APPX3237). Pan International also withdrew

from participation. Pan International Letter at 1 (Jan. 28, 2020 (APPX3400).

       Subject Merchandise

       The scope description of subject merchandise reads in part:

       The merchandise covered by this investigation is carbon and alloy forged steel
       fittings, whether unfinished (commonly known as blanks or rough forgings) or
       finished. Such fittings are made in a variety of shapes including, but not limited
       to, elbows, tees, crosses, laterals, couplings, reducers, caps, plugs, bushings,
       unions (including hammer unions), and outlets. Forged steel fittings are covered
       regardless of end finish, whether threaded, socket-weld or other end connections.
       The scope includes integrally reinforced forged branch outlet fittings, regardless
       of whether they have one or more ends that is a socket welding, threaded, butt
       welding end, or other end connections.
FSF Final Deter., 85 Fed. Reg. at 66,308 (APPX14188).

       Commerce’s Failure to Verify

       During the course of the investigation, Commerce sent an original and then six

supplemental questionnaires to SFIPL. Commerce questionnaires were dated: Jan. 2, 2020

(APPX2906), March 2, 2020 (APPX6022), March 27, 2020 (APPX6051); April 10, 2020

(APPX8108), June 16, 2020 (APPX11761), and July 2, 2020 (APPX11816). SFIPL responded

to each of the questionnaires. Following its preliminary determination, Commerce asked SFIPL a

series of specific questions about its questionnaire responses in two supplemental questionnaires.

DOC Shakti 2nd Sec. D Supplemental Questionnaire (June 15, 2020) (APPX89114-89118) and

DOC Shakti 6th Supplemental Questionnaire (July 2 2020) (APPX89535-89538). All of the

questions consisted of requests for new information or explanation of existing information except

for one. In the 6th supplemental, Commerce asked SFIPL to “provide complete information to

corroborate the information you reported for the following sales in the home and U.S. markets.”

After transmitting these questionnaires, on August 4, 2020, Commerce issued a memorandum

“Cancellation of Verification and Briefing Schedule,” in which it indicated that because a Global

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Level 4 travel advisory had been imposed, preventing Commerce personnel from traveling to

conduct verification, and due to the impending statutory deadline for the completion of

investigation, Commerce was unable to conduct verification in the investigation. APPX13906.

        In their case brief, filed a week later, Bonney Forge and the USW asked Commerce to

verify SFIPL’s questionnaire responses remotely if it could not verify the information in person.

Petitioners’ Case Brief at 19-20 (Aug. 11, 2020) (public version: APPX13969-13964) (“Pet. PV

Case Brief”).

       In its final decision memorandum, Commerce retroactively characterized its

supplemental questionnaires as constituting verification even though it did not ask for any

documents to corroborate SFIPL’s cost reporting or issue a verification report. See Final IDM at

2-3 (APPX14127-14128). In the final results Commerce issued in October of 2020, SFIPL

received a margin of zero percent.

       Commerce’s Acceptance of SFIPL’s Cost Reporting

       As part of its questionnaire responses, SFIPL provided databases with information on its

home market and U.S. sales as well as cost worksheets showing, inter alia, input materials

consumption, labor costs, and power and fuel costs. See SFIPL Sections B and C Questionnaire

Response at Exhibits B-1 and C-1 (Feb. 24, 2020) (APPX3751-3755, APPX4034-4038) (“SFIFL

Sec. BC QR”) and SFIPL Section D Questionnaire Response at Exhibit D-10 (APPX4587-5488,

APPX4606-4613), Exhibits D-11 and D-12 (APPX4808-4809, APPX4826-4828, APPX5100-

5101, APPX5118-5126), Exhibit D-13(a) (APPX5401-5402, 5419-5421), and Exhibit D-13(b)

(APPX5729-5730, APPX5747-5748) (“SFIPL Sec. D QR”). The databases were organized by

what Commerce calls a “CONNUM.” See, e.g., Commerce Initial request for Information at D-2

(Jan. 2, 2020) (APPX3007). Commerce does not allow respondents to organize product sales



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and cost information based on their own model numbers as these may be inconsistent between

markets and can be manipulated to reduce dumping margins. Instead, Commerce typically

requires that respondents create unique CONNUMs based on the physical characteristics of the

products they sell. See SFIFL Sec. BC QR at B-10-B19 (APPX3716-3724). As some products

that a respondent distinguishes by product name or model may share physical characteristics, a

respondent’s reporting of information for a single CONNUM may incorporate information for

two or more respondent-specific products.

       In this investigation, SFIPL reported both its sales information and its costs by

CONNUM. In its sales databases, SFIPL reported information on each of its sales transactions,

including the CONNUM for the product sold, its price, and its quantity. SFIFL Sec. BC QR at B-

3–B-5 (APPX3708-3710). SFIPL reported its information on material consumption, labor, and

power and fuel cost by CONNUM in its various cost worksheets.

       In its Section A questionnaire response, SFIPL provided a description of the processing it

performed to produce its fittings. SFIPL Section A Questionnaire Response at Exhibit A-10(a)

(APPX3635-3639) (“SFIPL Sec. A QR”). That description identified two stages in its

processing, a “FORGING” stage and a “MACHINE PROCESSING & PACKING” stage. In

both stages, SFIPL identified different types of processing depending on the customer type

(traders and end-users/OEMs in the home market) and market (home market and export) for

which the forgings were being sold. Id. In their case brief, Petitioners provided reports showing

that the processing costs identified by SFIPL as only being incurred for fittings sold to end

users/OEM customers in the home market and for export were reported for [

                           ] but were not reported for [




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                                                 ] See Petitioners’ Case Brief at 9-13 (APPX91578-

91582).

        Before briefing in the investigation, SFIPL had asserted that it had meant to distinguish

between processing performed on finished and unfinished fittings. SFIPL Response for 4th

supplemental questionnaire at 1-2 (April 27, 2020) (APPX8822) (“SFIPL 4th Sup. QR”). For its

final determination, Commerce accepted SFIPL’s explanation and rejected Petitioners claims

regarding this mis-reporting:

        Third, concerning the petitioners’ argument that processing costs were
        inaccurately reported when taken against narrative descriptions made in the
        responses, we disagree. The petitioners provided an analysis of the reported costs
        that were based on initial statements made by the respondent which petitioners did
        not take into account . . . The products that the petitioners included in their
        “exception” report were sold to traders in the home market that were found to
        have processing costs refer to finished fittings, “1,” and are expected to have
        finishing costs.
Final IDM at 19 (APPX14144).


IV.     STANDARD OF REVIEW

        The applicable standard of review is set forth in 19 U.S.C. § 1516a(b)(1)(B)(i). Pursuant

to the statute, the Court holds unlawful any determination found to be unsupported by substantial

evidence on the record, or otherwise not in accordance with law.

        Contrary to Law

        To determine whether Commerce’s interpretation of a statute is in accordance with law,

the Court applies the two-prong test set forth in Chevron U.S.A., Inc. v. Natural Resources

Defense Council, Inc., 467 U.S 837 (1984). First, the Court determines “whether Congress has

directly spoken to the precise question at issue.” Id. at 842. If the plain language of the statute is

clear, that is the end of the matter. Id. at 842-843. If the plain language of the statute is silent or

ambiguous on the question at issue, however, “the question for the court is whether the agency’s

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answer is based on a permissible construction of the statute.” Id. at 843 (footnote omitted). If the

agency’s interpretation is reasonable, it will be upheld by the Court. The Supreme Court has

affirmed that the two-step Chevron test applies in the judicial review of Commerce antidumping

determinations. See United States v. Eurodif S.A., 555 U.S. 305, 316 (2009).

       Substantial Evidence

       Substantial evidence has been defined as “more than a mere scintilla,” and as “such

relevant evidence as a reasonable mind might accept as adequate to support a conclusion.”

Nippon Steel Corp. v. United States, 337 F.3d 1373, 1379 (Fed. Cir. 2003); (quoting

Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229, 59 S. Ct. 206, 83 L. Ed. 126 (1938)). In

determining whether substantial evidence exists, the court must consider “the record as a whole,

including evidence that supports as well as evidence that fairly detracts from the substantiality of

the evidence.” Nippon Steel Co. v. United States, 337 F.3d at 1379 (Fed. Cir. 2003) (quoting Atl.

Sugar, Ltd, v. United States. 744 F.2d 1556, 1562 (Fed. Cir. 1984)); see also Universal Camera

Corp. v. NLRB, 340 U.S. 474, 488 (1951). The standard also requires Commerce to “articulate a

satisfactory explanation for its action including a rational connection between the facts found and

the choice made.” Tianjin Magnesium Int’l Co. v. United States, 34 CIT 980,982, 722 F.Supp.2d

1322, 1328 (2010) (quoting Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43, (1983)).

V.     ARGUMENT

               A. Summary of Argument

       In the investigation on appeal, Commerce made two significant errors, each of which

affected its determination that SFIPL did not make sales at less than fair value during the POI

and each of which warrants remand.



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        First, Commerce erred as a matter of law by not verifying the information it relied on to

make its final determination regarding SFIPL and not providing a verification report.

        Second, Commerce also erred by determining that SFIPL’s reporting of processing costs

was supported by substantial evidence. As Petitioners demonstrated during the investigation,

SFIPL reported finishing costs on CNC machines for the fittings that it sold to [

             ], and it conversely failed to report finishing costs on CNC machines for fittings

sold to [                ]. Both of these were contrary to SFIPL’s narrative description of its

manufacturing processes, in which SFIPL stated that it performed CNC machine finishing for

fittings sold in the United States but not for fittings sold to traders in the home market. This

erroneous reporting had the effect of [

                                                                         ]. Commerce’s reliance on

the mis-attributed costs was not supported by substantial evidence.

                 B. Commerce’s Failure to Verify SFIPL’s Information Was Contrary to Law.

        The statute clearly states that Commerce is required to verify the information it relies

upon in an antidumping investigation: “The administering authority shall verify all information

relied upon in making … a final determination in an investigation.” 19 U.S.C. § 1677m(i)(1).

There is no ambiguity in this statutory command. There is also no discretion under the statute for

Commerce to refuse to verify the information upon which it relies, even in extenuating

circumstances.

        Commerce’s regulations state that Commerce “will verify factual information” upon

which it relies in an antidumping investigation. 19 C.F.R. § 351.307(b)(1)(i). In addition, during

verification, Commerce’s regulations state that “employees of the Department will request access

to all files, records, and personnel which the Secretary considers relevant to the factual


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information submitted” by respondents. 19 C.F.R. § 351.307(d). Finally, Commerce’s regulation

requires Commerce to issue a verification report to the parties that explains the “methods,

procedures, and results of a verification” prior to its final determination. 19 C.F.R. § 351.307(c).

          This court has explained that Commerce has a statutory duty to verify the information

which it relies upon in a proceeding: “Verification tests the facts upon which conclusions are to

be drawn and indicates whether they will reflect an acceptable degree of certainty ….

{Commerce} does have a statutory obligation to properly verify those facts which it finds

dispositive.” Smith Corona Corp. v. United States, 15 C.I.T. 355, 366, 771 F. Supp. 389, 399

(1991).

          The court has remanded Commerce determinations where Commerce failed to conduct

the required verification:

          In fact, the Court can find no alternatives to requiring ITA to comply with the
          clear language of the statute. The government’s action in failing to verify was not
          in accordance with the law. Consequently, the government erred in not conducting
          verification as required by 19 U.S.C. § 1677e. In this instance, ITA should verify
          Asturquimica’s responses on remand and should consider the information
          submitted by Asturquimica in its pre-hearing brief, if such is the type of
          information normally relied upon or received by ITA when conducting
          verification.
Industrial Quimica Del Nalon, S.A. v. United States, 13 CIT 1055, 1060, 729 F.Supp. 103, 109

(1989). 3 See also The Timken Co. v. United States, 18 CIT 486, 495-96, 852 F.Supp. 1122, 1130

(1994) (“Clearly, if Commerce were conducting its third consecutive review without yet making



3
    Following remand, the Court certified the verification issue for appeal to the Federal Circuit,
    Industrial Quimica Del Nalon, S.A. v. United States, 14 CIT 143, 145, 732 F.Supp. 1180,
    1182 (1990) petition denied, United States. v. Industrial Quimica Del Nalon, S.A., 904 F.2d
    44 (T) (Fed. Cir. 1990). Note that the court in Industrial Quimica was addressing the
    requirement in 19 U.S.C. § 1677e to conduct verifications in certain administrative reviews.
    The statutory provision requiring verification in investigations is even stronger, as it applies
    to all investigations, regardless of whether verification is requested or not. See 19 U.S.C. §
    1677m(i)(1).

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a verification and an interested party had made a timely request for verification, as had occurred

in Industrial Quimica, Commerce would be required to do so.”)

       The court has also explained that “verification is like an audit, the purpose of which is to

test information provided by a party for accuracy and completeness.” Bomont Industries v.

United States, 14 C.I.T. 208, 209, 733 F.Supp. 1507, 1508 (1990). Indeed, this court recently

remanded an investigation to Commerce where verification was conducted, but crucial,

dispositive facts were not verified, noting that verification is a “critical aspect of Commerce’s

antidumping investigation ….” New American Keg, d/b/a American Keg Company v. United

States, Slip Op. 21-30 at 6 (Ct. Int’l Trade Mar. 23, 2021).

       To implement this statutory requirement, Commerce has a standard practice in

investigations and some administrative reviews of scheduling verification visits to respondent

facilities, including manufacturing and sales facilities. In advance of such visits, Commerce

sends a verification outline that identifies the types of information that respondents must

assemble in advance of verification for review during verification. See, e.g.: Strontium Chromate

from France, 84 Fed. Reg. 53,678 (Dep’t Commerce Oct. 8, 2019) (final deter. LTFV sales), and

accompanying Issues and Decision Memorandum at Comment 1 (“the purpose of providing a

verification outline is to give respondents sufficient notice about the types of information and

source documents that Commerce will examine, and to afford respondents sufficient time to

compile the information.”); Certain Biaxial Integral Geogrid Products from the People’s

Republic of China, 82 Fed. Reg. 3284 (Dep’t Commerce Jan. 11, 2017) (final deter. LTFV sales),

and accompanying Issues and Decision Memorandum at Comment 3 (“the verification outline

listed specific instructions as to what information Taian Modern was expected to provide.”);

Certain Cold-Drawn Mechanical Tubing of Carbon and Alloy Steel from the Republic of Korea,



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83 Fed. Reg. 16,319 (Dep’t Commerce Apr. 16, 2018) (final deter. LTFV sales), and

accompanying Issues and Decision Memorandum at Comment 1 (“verifiers have requested

samples of documents associated with various accounting functions – the verification outline

asked to identify all reports generated from the data system in the ordinary course of business.”).

Petitioners typically have an opportunity to submit comments on the types of items they believe

should be included in the verification outline. Petitioners also receive a copy of the underlying

documents examined by Commerce during verification, so-called “verification exhibits,” which

are often very voluminous. Finally, Commerce produces a verification report that summarizes the

results of its verification. See 19 C.F.R. § 351.307(c).

        As noted above, this court has recognized that verification is “critical,” because it serves

as a kind of audit to test the accuracy of the information that respondents have reported. Indeed,

there are any number of cases where, at verification, Commerce has discovered that the

information respondents have reported is not supported by the company’s own books and records

or has even been created solely for the purposes of engineering artificially low dumping margins

in Commerce’s proceedings. See, e.g., Pure Magnesium from the People’s Republic of China, 74

Fed. Reg. 66,089 (Dep’t Commerce Dec. 14, 2009) (final admin. review results) and

accompanying Issues and Decision Memorandum at Comment 1 (describing company

representatives falsifying documents, barring Commerce officials from viewing business records,

and throwing boxes of voucher books out the window to avoid review during verification). In

addition, the fact that the verification outline, verification exhibits, and verification report are all

available to Petitioners ensures basic fairness by giving Petitioners their own opportunity to

comment on the accuracy of respondents’ reporting and its reliability for the purposes of

calculating dumping margins.



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       None of those goals were achieved in this investigation. Commerce stated that it was not

going to verify SFIPL’s information due to State Department travel restrictions. Memo from

USDOC to File Pertaining to Interested Parties Cancellation of Verification and Briefing

Schedule at 1 (Aug. 4, 2020) (APPX13906). In their case brief, filed one week after learning

that Commerce did not plan to conduct an on-site verification, Petitioners urged Commerce to

undertake a virtual verification of SFIPL instead. Petitioners’ Case Brief at 19-20 (Aug. 11,

2020) (APPX13969-13964). Petitioners also raised a number of issues in their case brief

(including those raised elsewhere in this brief) that could have been addressed in some measure

by verification of SFIPL’s data. Even though there were at least two months remaining between

the case briefs and the final determination, Commerce did not obtain information necessary to

confirm the accuracy of the information that it relied for its final determination or produce a

verification report. These failures were contrary to law. They alone provide sufficient and

necessary grounds for a remand of this action.

       Moreover, the Court should reject Commerce’s attempt to retroactively characterize

certain supplemental questions regarding the corroboration of sales documentation as

“verification.” See Final IDM at 2-3 (APPX14127-14128). These supplemental questions on

their own did not meet any of Commerce’s own regulatory requirements for verification,

including the issuance of a verification report to all of the parties. See 19 C.F.R. § 351.307(c). In

addition, the supplemental questions pertained only to certain sales information, and not to the

cost reporting on which Commerce also relied in its final results. See DOC Shakti 2nd Sec. D

Supplemental Questionnaire (June 15, 2020) (APPX89114-89118) and DOC Shakti 6th

Supplemental Questionnaire (July 2 2020) (APPX89535-89538). As explained below, SFIPL’s




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cost reporting had a dispositive impact on SFIPL’s dumping margin, and Commerce’s failure to

verify this crucial information upon which it relied was therefore contrary to law.

               C. Commerce’s Conclusion that SFIPL’s Reporting of Processing Costs Was
                  Consistent with Its Descriptions of that Processing Was Not Supported by
                  Substantial Evidence.

       In their case brief, Petitioners identified two different ways in which SFIPL’s descriptions

of its processing and its reporting of costs for that processing were inconsistent: (1) CNC

machine finishing costs were reported for [                               ]; and (2) CNC

machining costs were not reported [                ]. See Petitioners’ Case Brief at 9-13

(APPX91578-91582). The issue raised by SFIPL’s reporting is whether its descriptions of its

processing are consistent with reporting its costs in this way. In other words, does the record

indicate that SFIPL performed different types of processing on fittings [

                                       ]? More specifically, does SFIPL’s description of its

processing operations support the conclusion that the products sold [

       ] were CNC finished, while the products sold to the [                ] were not CNC finished?

As we show below, the answer is a resounding no.

       As explained in more detail below, at the outset of the investigation, SFIPL reported that

different processing was in fact performed on products sold to different markets. Its cost

reporting was, however, inconsistent with this original description. In an attempt to defend its

inconsistent cost reporting, SFIPL asserted that the distinctions it was actually referring to were

those between unfinished fittings that were not finished and those that were finished. SFIPL’s

explanation may explain away differences in the processing performed in the “FORGING” stage

of its manufacturing process, such as heat treatment. But the differences between finished and

unfinished fittings cannot explain the distinctions explicitly made by SFIPL between the



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finishing processing performed on finished fittings – by definition, unfinished fittings are not

subject to any of the machining processes that transform unfinished fittings to finished fittings.

Nor do SFIPL’s claims regarding finished and unfinished fittings explain SFIPL’s later

distinction between finishing performed on lathes versus that performed on CNC machines that

was dependent on the market in which the fittings were sold. Again, unfinished fittings by

definition could not be machined either on lathes or on CNC machines. Below we lay out the

inconsistencies in SFIPL’s reporting in more detail.

       As Petitioners demonstrated in their case brief, there are at least two different ways in

which substantial evidence did not support SFIPL’s cost reporting. Despite these fatal flaws in

SFIPL’s reporting, Commerce accepted SFIPL’s reporting as consistent and as reasonably

reflecting the costs associated with its production. In doing so, Commerce failed to consider the

record as a whole, including evidence highlighted by Petitioners that fairly detracted from

Commerce’s conclusion. Commerce also failed to articulate a rational connection between the

facts and its conclusions. Commerce’s determination is therefore unsupported by substantial

evidence and should be remanded.

                            1. Background
       Commerce requires that respondents reconcile their reported information to their

accounting records and financial statements. See, e.g., id. at B-7 (APPX3712); SFIPL Sec. D QR

at D-36 (APPX4513). For example, the quantities of materials, power, and labor costs reported

by CONNUM are to add up to totals that are consistent with the respondents’ accounting records.

Respondents may reduce dumping margins by allocating costs away from certain products such

as those sold in the United States. Different allocations among CONNUMs does not affect the

reconciliation of total costs to accounting records so long as the total quantities allocated remain

the same.

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       The statute specifies regarding costs that:

       Costs shall normally be calculated based on the records of the exporter or
       producer of the merchandise, if such records are kept in accordance with the
       generally accepted accounting principles of the exporting country (or the
       producing country, where appropriate) and reasonably reflect the costs associated
       with the production and sale of the merchandise. The administering authority shall
       consider all available evidence on the proper allocation of costs, including that
       which is made available by the exporter or producer on a timely basis, if such
       allocations have been historically used by the exporter or producer, in particular
       for establishing appropriate amortization and depreciation periods, and
       allowances for capital expenditures and other development costs.
19 U.S.C. § 1677b(f)(1)(A).


       In this investigation, SFIPL explained in its cost questionnaire response:

       SFIPL, in the normal course of business, does not maintain a cost accounting
       system as such. That is, SFIPL does not maintain any pre-calculated standard
       costs for pre-defined products that are then used as a basis for management
       reporting, financial reporting or any other type of analysis. For individual
       products, no standard costs are collected, no variances are accumulated, and no
       reconciliation is done between cost accounting and financial accounting.
       In the normal course of business, SFIPL collects cost data only on an aggregate
       basis, based on the amounts actually booked under the various accounts
       maintained in the financial accounting system, which is the basis for management
       review. Hence, for purpose of this response, the costing methodology used by
       SFIPL is reported in detail in the subsequent responses.
SFIPL Sec. D QR at D-3-4 7 (APPX4492-4493).


       Because SFIPL maintained only aggregate cost information, it had to allocate its costs to

specific products for reporting to Commerce. Thus, SFIPL developed cost reporting for purposes

of this investigation. Id. at D-26-27 (APPX4503-4504). Regardless of its origin, cost reporting

must “reasonably reflect the costs associated with the production and sale of the merchandise.”

19 U.S.C. § 1677b(f)(1)(A). This means that for Commerce to accept a respondent’s cost

reporting as accurate it must, inter alia, be internally consistent, and it must be consistent with

the respondent’s description of its manufacturing and product sales. For example, if a respondent


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reports that it incurs the greatest costs to produce the merchandise sold as subject merchandise in

the U.S., it cannot then report specific costs for the products sold in the home market that have

greater costs than those sold in the U.S.

                               2. SFIPL’s Initial responses
          In its initial cost questionnaire response, SFIPL reported that it sold its fittings in the

home market to two different kinds of customers: (1) traders or distributors; and (2) end users.

See SFIPL Sec. A QR at A-16 (APPX3431). The former were identified in SFIPL’s home market

sales database as sales at a level of trade coded as “1”; the latter as sales at a level of trade coded

as “2”. SFIPL Sec. BC QR at B-32 (APPX3737). All export sales to the U.S. were identified as

sales to distributors. Id. at C-30 (APPX4009).

          In that same initial questionnaire response, SFIPL provided an extensive description of

the two-part processing it performed to produce its fittings.4 It identified the first stage as the

“FORGING PROCESS.” This stage included: (1) the purchase of raw material, (2) testing, (3)

cutting, (4) heating, (5) forging, (6) trimming, (7) heat treatment, (8) physical test, and (9)

surface finishing. The second stage was identified as “MACHINING PROCESS & PACKING.”

This stage included: (1) drilling, (2) boring and end connection preparation, (3) galvanizing/zinc

plating, (4) marking, (5) cleaning and rust prevention, (6) final inspection, and (7) packing.

SFIPL Sec. A QR at Exhibit A-10(a) (APPX3635-3639). In its description of these processes,

SFIPL included extensive language that distinguished between the processing performed for

fittings sold to traders in the home market and those sold to end-users/OEMs in the home market

and for export.




4
    SFIPL also included a flowchart of its processing as Exhibit D-1 to its Section D Questionnaire
      response. APPX82773.

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       SFIPL also reported that it performed different functions to sell to end-users from those

performed to sell to traders in that market:

       SFIPL is required to perform several additional selling function for its end-user
       customer as compared to sales to home market customers. For home market end-
       user customers, SFIPL is required to obtain quality assurance (QAP) plan and
       detailed drawing approved by the end-user. As per QAP, end-user customer
       requires inspection at intermediate production stages as well as at the final post
       production stage inspection either by the end-user or his appointed third party
       inspector. All such inspection for the home market end-user requires additional
       time and efforts involving cost. Also end-user customer requires specific hard
       punch marking (including unique marking of third party inspection). Further in
       case on end-user customer, there is a process of vendor Approval, wherein the
       customer or his appointed third Party visits SFIPL for factory assessment to
       evaluate, Process knowledge, quality system, production capability, infrastructure.
       These services are specifically for the home market end-user customer and not for
       traders.
SFIPL Sec. BC QR at B-32 (APPX3737).

                            3. SFIPL’s Subsequent Claims
       In a supplemental questionnaire, Commerce asked SFIPL to explain the extensive

differences in the processing performed on fittings that it described in its Section A response:

       Your questionnaire response indicates that there are [

                                                                                     ].
       Specifically, your Section A response indicates [




                                      ] Your questionnaire response also appears to indicate
       that products sold in the home market to [                           ]; however, your
       cost database and home market sales database [
                                             ]. Please recode the sales in your home market
       sales database to indicate which sales are of [              products. In addition,
       ensure that the costs incurred in [
                                                  ] sold to home market distributors.
       Incorporate the changes related to the FINISHH/U characteristics discussed above
       in the cost database that is due on April 24, 2020.


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Commerce Antidumping Duty Investigation of Forged Steel Fittings from India: Sections A

through D Supplemental Questionnaire at 3 (April 16, 2020) (footnote omitted) (APPX85197).


       SFIPL provided this response:

       SFIPL revisited its production process submitted at Exhibit 10(a) of Section A
       response and noticed that all the cases were it was mentioned that several steps
       are not undertaken for sale to home marker distributor are pertaining to un-
       finished forged fitting. Since these fitting are not fully finished hence these
       several steps are not required to be performed. SFIPL erroneously omitted to
       provide any reference for the word “unfinished” fitting in exhibit 10(a) of section
       A.
SFIPL 4th Sup. QR (APPX8822) (emphasis in original).


       SFIPL further elaborated in its rebuttal brief:

       Thus, SFIPL has clarified that since the unfinished fittings sold to trader hence the
       production process provided at Section A refer about several processes which is
       not required to be performed because those are pertaining to unfinished fitting
       (coded as FINISHH/U = 2) which are mainly sold to domestic traders/distributors.
       In section A SFIPL had omitted to provide reference which has been rectified in
       the in the 5SQR by SFIPL.
SFIPL Rebuttal Case Brief at 14 (Aug. 24, 2020) (APPX91777) (“SFIPL Rebuttal Brief”).


       Despite its assertions that the processing differences it had referred to Exhibit 10(a) had

only to do with unfinished forgings, SFIPL continued to distinguish between processing

performed for export fittings versus those sold in the home market. In a filing after its fourth

questionnaire response (and after it had asserted that its distinction between different types of

processing only applied to unfinished forgings), SFIPL explained the power costs it incurred for

processing:

          Process-1: Roughing – (see column ‘t’ of Exhibit S2-16(b) Part-2)5


5
    Note that this exhibit was attached to SFIPL’s 2nd Supplemental Questionnaire Response.
    See APPX09586. A revised version of SFIPL’s power worksheet was included in its sixth
    questionnaire response. SFIPL Sixth Supplemental Questionnaire Response at 12
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          Process 2: Final Machining/Roughing-2 (see column ‘w’ of Exhibit S2-16(b) Part-2)

          Process 3: Roughing + Final Machining (See column ‘y’ of Exhibit S2-16(b) Part-2)

       Process-1 refers to machining time for conventional & high speed drilling
       machines on which drilling process and threading machine on which occasionally
       threading process is performed. Process 2 refer to machining time for
       conventional lathe machines on which finishing operations such as drilling,
       turning, threading, etc. is performed. Process 3 refers to machines time of CNC
       machines on which all the operations (Drilling, Turning, Threading, etc.) is
       performed. Thus with the actual experience SFIPL has calculated the different
       time required for each product. Thus an item can undergo in either any of above
       three process or in combination of above three process depending upon the market
       (domestic or export) where the product is sold and depending upon the
       availability of machines where the product is produced as per the actual
       experience of the SFIPL.
SFIPL Rebuttal Comment on Petitioner second and third post preliminary comment at 8-9 (July

13, 2020) (emphasis added) (APPX12136-12137).


       Thus, SFIPL’s power worksheet reported processing on lathe machines in a different

column than the column it reported processing on CNC machines. Because of this, Petitioners

were able to distinguish between parts (CONNUMs) machined solely on conventional lathes

from those machined solely on CNC machines. They were also able to use SFIPL’s sales

databases to distinguish parts (CONNUMs) sold only in the home market to traders from those

that were sold to end-users in the home market and for export. Petitioners included in their case

brief their analyses of the spreadsheets and databases that SFIPL filed in the investigation. They

showed the following:

       (1) There were [ ] CONNUMS sold [
                      ] See Pet. CR Case Brief at Exhibit 2, Report 1(a) (APPX 91629-91640).6


    (APPX89809) (“SFIPL 6th Sup. QR”). Petitioners used the latter version for the analyses they
    presented in their Commerce case brief.
6
    Note that because SFIPL aggregated its costs by CONNUM, if a particular CONNUM had
    been sold both to traders and for export, it would, as described by SFIPL, have [
                                                             ] Thus, for purposes of this analysis
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       (2) Of the [     ], there were home market sales of [ ] finished fitting CONNUMs made
           only to traders in the home market to which SFIPL allocated [
                      ] See Pet. CR Case Brief at Exhibit 2, Report 1(b) (APPX 91641-91648).

       (3) Of the [     ], there were home market sales of [     ] finished fitting CONNUMs made
           to traders to which SFIPL allocated [                                       ] See Id. at
           Exhibit 2, Report 1(c) (APPX 91649-91654).

       (4) No sales of unfinished fittings in the home market were [
                              ] Id.

       SFIPL explained that it had not machined any fittings sold to traders in the home market

on [                ] yet it reported costs for machining on [              ] for many of those

same fittings. Importantly, Commerce’s acceptance of SFIPL’s cost reporting – despite its

inconsistency with SFIPL’s other descriptions of its processing operations – permitted SFIPL to

shift costs away from CONNUMs that were sold in the U.S. market to CONNUMs sold to

certain customers in the home market.

       SFIPL’s description of the processing it performed during the FORGING stage included

these statements:

       Heat treatment
       . . . In each export materials heat treatment is done to normalize the materials as
       per require international standards, whereas in domestic it is not done in major
       case of trader’s. However, fittings which are supplied to users or OEMs are
       normalized by heat treatment.
       Physical Test
       After heat treatment, Physical / mechanical test of the steel which has gone
       through forging and heat-treatment process is done. It requires testing the tensile,
       yield, elongation, impact, hardness etc This testing is performed in each export
       orders as per require international standards where as in domestic it is not done in
       major case of trader’s Orders however Fittings which are supplied to users or
       OEM orders are tested.


   and the next, Petitioners had to limit their scrutiny to CONNUMs sold [

                                             ]

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       Surface Finishing
       Forged surface has burnt scalp, uneven surface, which is required to be grinded
       and shot blasted for better appearance. This finishing process is performed in each
       export orders where as in domestic it is not done in major case of trader’s Orders
       however Fittings which are supplied to users or OEM orders.
       As noted above, SFIPL attempted to explain away the distinctions in the processing of

fittings sold to different customers in different markets in its Exhibit 10(a) as distinctions solely

between finished and unfinished fittings. SFIPL 4th Sup. QR at 1 (APPX8822). Yet, given this

language and the distinctions made between fittings sold in the home market to traders, fittings

sold in the home market to end users or OEMs, and fittings sold for export, it was not logical for

Commerce to accept the original language as simply a mistake and that all of the distinctions

made were really between unfinished and finished fittings. In essence, SFIPL asked Commerce

to believe that what it meant to say was:

       Heat treatment
       . . . In each heat treatment is done to normalize finished fittings but not unfinished
       fittings.
       Physical Test
       After heat treatment, Physical / mechanical test of the steel which has gone
       through forging and heat-treatment process is done. It requires testing the tensile,
       yield, elongation, impact, hardness etc This testing is performed on finished
       fittings but not unfinished fittings.
       Surface Finishing
       Forged surface has burnt scalp, uneven surface, which is required to be grinded
       and shot blasted for better appearance. This finishing process is performed on
       finished fittings but not unfinished fittings.
       Mistaken reporting cannot explain how SFIPL’s distinctions between finished and

unfinished fittings were transformed into distinctions between fittings sold to different types of

customers and markets.




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        While SFIPL’s “explanation” could possibly be accepted by Commerce as addressing the

heat treatment process included in Stage 1 FORGING 7 it had no relevance to the Stage 2

MACHINING processing steps: unfinished fittings were not machined. SFIPL made this clear in

its rebuttal brief:

        The item is unfinished fitting as indicated in item description word “Forging”
        . . . as we know unfinished fitting does not require any machining process.
And:
        . . . all product description (see column “a”) that contain the word [         ] in
        their product description are unfinished product and accordingly all such products
        in working have been identified as “forged” (see column “r” of Exhibit S5-6 Part
        2 and in all such items no process cost was allocated for any process (see column
        “s” to “z6) except cutting process which is required for un-finished fitting.
SFIPL Rebuttal Brief at 23 (APPX91786).


        This language was included in the description of processing for the MACHINING stage:

        In process of Machining there is major difference in Domestic trader’s order and
        export orders. There will be no boring after drilling and socket preparation will be
        done in conventional laths in domestic orders. However in export orders each
        fittings will be machined 100% Boring and end preparation with CNC Machines.
SFIPL Sec. A QR at Exhibit A-10(a) (APPX3638).

        This language indicates that different processing was performed on finished fittings for

domestic trader’s orders and finished fittings for export: the latter are not bored and the socket

preparation performed on them is done on conventional lathes while the boring and end

preparation for export fittings is done entirely on CNC machines.

        This distinction in the second stage of processing (MACHINING) could only be between

finished fittings as it had to do with the finishing performed on the fittings and, as SFIPL has

said, no finishing was performed on unfinished fittings. Consider the relevant language in



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    Petitioners do not believe that it can.

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SFIPL’s description of its processing if we include the words “unfinished forged fitting” in the

manner asserted by SFIPL:

       In process of Machining there is major difference in Domestic trader’s order for
       unfinished forged fittings and export orders. There will be no boring after drilling
       and socket preparation will be done in conventional laths in domestic orders for
       unfinished forged fittings. However in export orders each fittings will be
       machined 100% Boring and end preparation with CNC Machines.
       This is the reading advocated by SFIPL and accepted by Commerce as the grounds for

rejecting Petitioners’ analysis. As this text revised per SFIPL’s explanation shows, the changes

render the statements complete nonsense. As SFIPL has repeatedly asserted that its unfinished

forged fittings were not machined, a statement that such fittings were machined on conventional

lathe machines makes no sense whatsoever. While SFIPL’s emendation of its Exhibit A-10(a)

questionnaire response may be plausible when applied to the FORGING PROCESS stage of

processing,8 it clearly is not plausible when applied to the machining stage.

                            4. Commerce’s Determination
       In this investigation, Commerce accepted SFIPL’s reporting as consistent and as

reasonably reflecting the costs associated with its production. As Petitioners demonstrated in

their case brief, there are at least two different ways in which substantial evidence did not

support Commerce’s conclusions: (1) CNC machine finishing costs were reported for [

                                                                                                ];

and (2) CNC machining costs were not reported [

                                                  ]. See Petitioners’ Case Brief at 9-13

(APPX91578-91582). Thus, Petitioners were able to demonstrate that SFIPL’s description of its

processing and its actual reporting were not consistent and should have been rejected by



8
    Petitioners do not accept that it does.

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Commerce in favor of the application of adverse facts available, or at least a requirement that

SFIPL correct the misinformation. Id. at 12-17 (APPX91581-91586) and at 18-19 (APPX91587-

91588).

       Commerce’s acceptance of SFIPL’s distinction between processing performed on

unfinished versus finished fittings as a sufficient explanation of the different processing

identified for finished fittings alone was illogical and so not supported by substantial evidence.

As Petitioners also noted above, the movement of costs away from sales that would match with

U.S. sales resulted in a lower, and less accurate, dumping margin for SFIPL. See Hung Vuong

Corp. v. United States, Slip Op. 20-174 at 85 (Ct. Int’l Trade Dec. 3, 2020) (“This matters

because understated factors of production would result in a product having a lower normal value

and, by extension, lower dumping margins.”).

       Commerce is obligated to “articulate a satisfactory explanation for its action including a

rational connection between the facts found and the choice made.” Tianjin Magnesium Int'l Co. v.

United States, 34 CIT 980,982, 722 F.Supp.2d 1322, 1328 (2010) (quoting Motor Vehicle Mfrs.

Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, (1983)).9 Commerce

failed to do so here. Petitioners presented the facts of record showing both of the inconsistencies

discussed above. Commerce’s choices in its final determination ignored these inconsistencies,

and so its determination was not supported by substantial evidence.




9
     In other cases, Commerce has not hesitated to adjust a respondent’s costs when it finds that
    the respondent has moved costs away from subject merchandise. See, e.g., Thai Plastic Bags
    Industries Co. v. United States, 853 F.Supp.2d 1267, 1273 (2012) (“Commerce adjusted a
    respondent’s costs to reflect Plaintiff’s reported per-unit costs shifted costs away from the
    subject merchandise, and thus Commerce reasonably recalculated Plaintiff’s costs by
    averaging them in order to prevent large discrepancies in costs between merchandise that was
    physically similar.”)

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       This Court should remand this action to Commerce with instructions that it consider the

record as a whole, including the evidence identified by Petitioners in their case brief, that

significantly detracted from the reliability of SFIPL’s cost reporting. See Nippon Steel Com. v.

United States, 337 F.3d at 1379 (Fed. Cir. 2003) (citing Atl. Sugar, Ltd, v. United States. 744 F.2d

1556, 1562 (Fed. Cir. 1984)).

VI.    CONCLUSION

      Petitioners ask this Court to find that Commerce erred as a matter of law by not verifying

SFIPL’s questionnaire responses and that Commerce’s reliance on SFIPL’s reporting of

processing costs was not supported by substantial evidence. We ask that the Court remand with

instructions that Commerce verify SFIPL’s responses and re-consider its reliance on SFIPL’s

reporting of processing costs.

                                                           Respectfully submitted,

                                                           /s/ William Fennell

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                      WORD COUNT CERTIFICATE OF COMPLIANCE



        In accordance with the Chambers Procedures of the United States Court of International
Trade, the undersigned certifies that his brief complies with the word limitations set forth in the
Chambers Procedures. Specifically, excluding those exempted portions of the brief, as set forth
in 2 B (1) of the Chambers Procedures, I hereby certify that this brief contains 7773 words. In
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                                                               /s/ William Fennell
                                                                   William Fennell




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